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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :
                                           :       Case No.: 22-CR-064 (RBW)
LLOYD CRUZ,                                :
                                           :
              Defendant.                   :

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney (AUSA) Andrew J. Tessman. AUSA Andrew Tessman will be

substituting for AUSA Mona Lee Furst.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           DC Bar No. 481052

                                    By:    _/s Andrew J. Tessman______________
                                           Andrew J. Tessman
                                           Assistant United States Attorney (Detailee)
                                           West Virginia Bar No. 13734
                                           United States Attorney’s Office
                                           300 Virginia Street
                                           Charleston, WV
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                                           andrew.tessman@usdoj.gov

                               CERTIFICATE OF SERVICE

        On this 7th day of September 2022, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   _________________________________
                                                   Andrew Tessman
                                                   Assistant United States Attorney
